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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DELAWARE


                                       )
WSOU INVESTMENTS, LLC, d/b/a           )
BRAZOS LICENSING AND                   )
DEVELOPMENT,                           )
                                       )
                 Plaintiff,            ) C.A. No. 20-1228-CFC
                                       )
       v.                              )
                                       )
XILINX, INC.,                          )
                                       )
               Defendant.              )
________________________________       )
                                       )
WSOU INVESTMENTS, LLC, d/b/a           )
BRAZOS LICENSING AND                   )
DEVELOPMENT,                           )
                                       )
                 Plaintiff,            ) C.A. No. 20-1229-CFC
                                       )
       v.                              )
                                       )
XILINX, INC.,                          )
                                       )
               Defendant.              )
________________________________       )
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                                        )
WSOU INVESTMENTS, LLC, d/b/a            )
BRAZOS LICENSING AND                    )
DEVELOPMENT,                            )
                                        )
                Plaintiff,              ) C.A. No. 20-1231-CFC
                                        )
       v.                               )
                                        )
XILINX, INC.,                           )
                                        )
              Defendant.                )
________________________________        )
                                        )
WSOU INVESTMENTS, LLC, d/b/a            )
BRAZOS LICENSING AND                    )
DEVELOPMENT,                            )
                                        )
                Plaintiff,              ) C.A. No. 20-1232-CFC
                                        )
      v.                                )
                                        )
XILINX, INC.,                           )
                                        )
              Defendant.                )
_______________________________         )
                                        )
WSOU INVESTMENTS, LLC, d/b/a            )
BRAZOS LICENSING AND                    )
DEVELOPMENT,                            )
                                        )
                Plaintiff,              ) C.A. No. 20-1233-CFC
                                        )
      v.                                )
                                        )
XILINX, INC.,                           )
                                        )
              Defendant.                )
________________________________        )



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       MOTION AND ORDER FOR ADMISSION PRO HAC VICE

     Pursuant to District of Delaware Local Rule 83.5 and the attached

certifications, counsel moves for the admission pro hac vice of Hilda C. Galvan,

Esquire, David B. Cochran, Esquire, and Thomas W. Ritchie, Esquire, of Jones

Day, to represent Defendant Xilinx, Inc. in the above-captioned actions.



Dated: November 9, 2020                     YOUNG CONAWAY STARGATT &
                                            TAYLOR, LLP

OF COUNSEL:                                 /s/ Anne Shea Gaza
                                            Anne Shea Gaza (No. 4093)
Hilda C. Galvan
                                            Robert M. Vrana (No. 5666)
JONES DAY
                                            Beth A. Swadley (No. 6331)
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                       ORDER GRANTING MOTION

      IT IS HEREBY ORDERED that counsel’s Motion for Admission Pro Hac

Vice of Hilda C. Galvan, Esquire, David B. Cochran, Esquire, and Thomas W.

Ritchie, Esquire is GRANTED.



Date: _____________, 2020



                                    _________________________________
                                    United States District Judge




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              CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE


                 Pursuant to Local Rule 83.5, I certify that I am eligible for admission to this

         Court and am admitted, practicing and in good standing as a member of the Bar of

         the State of Ohio, and pursuant to Local Rule 83.6 submit to the disciplinary

         jurisdiction of this Court for any alleged misconduct that occurs in the preparation

         or course of this action. I also certify that I am generally familiar with this Court’s

         Local Rules. In accordance with Revised Standing Order for District Court Fund

         effective September 1, 2016, I further certify that the annual fee of $25.00 has been

         paid to the Clerk of Court, or, if not paid previously, the fee payment will be

         submitted to the Clerk’s office upon the filing of this motion.



         Dated: November 9, 2020                  _____/David B. Cochran/______________
                                                  David B. Cochran
                                                  JONES DAY
                                                  North Point 901 Lakeside Avenue
                                                  Cleveland, Ohio 44114-1190
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                                   CERTIFICATE OF SERVICE

                 I, Anne Shea Gaza, hereby certify that on November 9, 2020, I caused to be

         electronically filed a true and correct copy of the foregoing document with the

         Clerk of the Court using CM/ECF, which will send notification that such filing is

         available for viewing and downloading to the following counsel of record:

                                    James M. Lennon, Esquire
                                    Devlin Law Firm LLC
                                    1526 Gilpin Avenue
                                    Wilmington, DE 19806
                                    jlennon@devlinlawfirm.com

                                    Attorneys for Plaintiff

                 I further certify that on November 9, 2020, I caused a copy of the foregoing

         document to be served by e-mail on the above-listed counsel, and on the following:

                                    Isaac Rabicoff, Esquire
                                    Rabicoff Law Firm LLC
                                    5680 King Centre Drive, Suite 645
                                    Alexandria, VA 22315
                                    isaac@rabilaw.com

                                    Attorneys for Plaintiff




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         Dated: November 9, 2020                     YOUNG CONAWAY STARGATT &
                                                     TAYLOR, LLP

                                                     /s/ Anne Shea Gaza
                                                     Anne Shea Gaza (No. 4093)
                                                     Robert M. Vrana (No. 5666)
                                                     Beth A. Swadley (No. 6331)
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                                                     bswadley@ycst.com

                                                     Attorneys for Xilinx, Inc.




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